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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


  In re:                                                    Chapter 7

  ART VAN FURNITURE, LLC, et al.,                           Case No. 20-10553 (CSS)

                                   Debtors.                 Jointly Administered


                       MOTION AND ORDER FOR ADMISSION PRO HAC VICE

                Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the
 admission pro hac vice of Beth E. Levine of Pachulski Stang Ziehl & Jones LLP, to represent Alfred T.
 Giuliano, Chapter 7 Trustee in the above-captioned proceedings.

 Dated: July 20, 2020                             /s/ Colin R. Robinson
                                                  Colin R. Robinson (DE Bar No. 5524)
                                                  Pachulski Stang Ziehl & Jones LLP
                                                  919 North Market Street, 17th Floor
                                                  Wilmington, DE 19899-8705 (Courier 19801)

                CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

          Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
 admitted, practicing and in good standing as a member of Bar of the State of New York, and submit to the
 disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the preparation or
 course of these actions. I also certify that I am generally familiar with this Court’s Local Rules and with
 Standing Order for District Court Fund revised 8/31/16. I further certify that the annual fee of $25.00 has
 been paid to the Clerk of Court for District Court.

 Dated: July 20, 2020                             /s/ Beth E. Levine
                                                  Beth E. Levine (NY Bar No. 2572246)
                                                  Pachulski Stang Ziehl & Jones LLP
                                                  780 Third Avenue, 34th Floor
                                                  New York, NY 10017-2024
                                                  Telephone: (212) 561-7700
                                                  Facsimile: (212) 561-7777
                                                  Email: blevine@pszjlaw.com

                                     ORDER GRANTING MOTION

                  IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.




Dated:7/21/2020
Wilmington, Delaware
                                                        CHRISTOPHER S. SONTCHI
 DOCS_DE:229793.1 05233/003                             UNITED STATES BANKRUPTCY JUDGE
